Case 2:21-cv-08835-SDW-LDW Document 1 Filed 04/09/21 Page 1 of 12 PageID: 1




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

   HOUSING AUTHORITY PROPERTY         :
   INSURANCE     AND     HOUSING      :
   AUTHORITY PROPERTY INSURANCE       : Civil Action No.:
   AS SUBROGEE OF NEWARK HOUSING      :
   AUTHORITY,                         :
                                      :           NOTICE OF REMOVAL
                          Plaintiffs, :
   v.                                 :
                                      :
   BROAN-NUTONE, LLC, JOHN DOES 1- :
   10, AND ABC CORPS. A-Z AND 1-10,   :
                                      :
         Defendants.                  :
                     .                :


TO:      United States District Court
         District of New Jersey

         Pursuant to 28 U.S.C. §§ 1441 and 1446, Broan-Nutone, LLC ("Defendant" or "Broan"),

by and through its attorneys, Goldberg Segalla LLP, submits this Notice of Removal from the

Superior Court of New Jersey, Law Division, Essex County, in which this matter is now pending,

to the United States District Court for the District of New Jersey. In support of this Notice of

Removal, Defendant states as follows:

                                     NATURE OF ACTION

         1.     On or about March 11, 2021, Plaintiff Housing Authority Property Insurance and

Housing Authority Property Insurance as Subrogee of Newark Housing Authority (“Plaintiff”)

filed its Complaint in the Superior Court of New Jersey, Law Division, Essex County, under

Docket No. ESX-L-1912-21. Pursuant to 28 U.S.C. § 1446(a), a copy of Plaintiff’s Summons and

Complaint is attached hereto as Exhibit A.

         2.     This is a product liability action in which Plaintiff alleges that, on November 17,

2017, a fire arose from a ceiling exhaust fan manufactured and sold by Broan. See Exhibit A.

29618386.v1
Case 2:21-cv-08835-SDW-LDW Document 1 Filed 04/09/21 Page 2 of 12 PageID: 2




         3.      Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings and orders served

upon Defendant is attached hereto as Exhibit A.

                                      TIMELINESS OF REMOVAL

         4.      Plaintiff served Defendant with a Summons, Complaint and Civil Case Information

Sheet on March 16, 2021.

         5.      Pursuant to 28 U.S.C. § 1446(b), this notice of removal is timely filed within the

requisite thirty (30) days after Defendant’s receipt of the initial pleading.

                                     AMOUNT IN CONTROVERSY

         6.      This notice of removal is filed on the grounds that there is diversity of citizenship

between the parties, and because the amount in controversy exceeds the amount required by 28

U.S.C. § 1332.

         7.      In its Complaint, Plaintiff alleges that it suffered damages of approximately

$200,000.00. See Exhibit A.

         8.      This notice of removal is, therefore, proper because the amount in controversy is

greater than the amount required by 28 U.S.C. § 1332(b).

                                     DIVERSITY OF CITIZENSHIP

         9.      Plaintiff Housing Authority Property Insurance is located at 189 Commerce Court,

Chestire, CT. As such Plaintiff is a citizen of Connecticut. See Exhibit A.

         10.     Plaintiff’s insured, the Newark Housing Authority, is located in Newark, NJ.

         11.     Defendant Broan-NuTone LLC is a Delaware limited liability company with its

principal place of business in Wisconsin. The sole member of Broan-NuTone, LLC is Nortek, Inc.

with 100% ownership interest in Defendant’s business. Nortek, Inc. is a Delaware corporation with

its principal place of business in Georgia. Thus, Broan is a citizen of Wisconsin, Delaware and

Georgia.


29618386.v1
Case 2:21-cv-08835-SDW-LDW Document 1 Filed 04/09/21 Page 3 of 12 PageID: 3




         12.    Pursuant to 28 U.S.C. § 1332, complete diversity of citizenship exists among all

parties in this action.

                              JURISDICTION & PLEA FOR REMOVAL

         13.    As set forth above, this Court has subject matter jurisdiction of the action pursuant

to 28 U.S.C. § 1332 and § 1441 in that it is a civil action between citizens of different states, and

the matter in controversy exceeds the sum or value of $75,000.00, exclusive of interest and costs.

         14.    Venue is proper pursuant to 28 U.S.C. § 1441(a) as this is the federal district court

for the district embracing the place where the state court suit is pending.

         15.    As required by 28 U.S.C. § 1446(d), a copy of this Notice of Removal is being

served upon Plaintiff, by and through its attorney of record, and is being filed with the Clerk of the

Superior Court of New Jersey, Law Division, Essex County.

         WHEREFORE, Defendant files this Notice of Removal so that the entire state court action

under Docket No. ESX-L-1912-21 that is now pending in the Superior Court of New Jersey, Law

Division, Essex County, shall be removed to this Court for all further proceedings.

                                                    Respectfully submitted,
                                                    GOLDBERG SEGALLA LLC


 Dated: April 9, 2021                               By:
                                                          Christopher P. Midura, Esq.
                                                          301 Carnegie Center, Suite 200
                                                          Princeton, NJ 08540-6530
                                                          Tel: 609-986-1300
                                                          Fax: 609-986-1301
                                                          Attorneys for Defendant,
                                                          Broan-Nutone, LLC

 To:      Joshua Biel, Esq.
          Clerk, Superior Court of New Jersey
          Law Division – Essex County




29618386.v1
Case 2:21-cv-08835-SDW-LDW Document 1 Filed 04/09/21 Page 4 of 12 PageID: 4




                            Exhibit A
Case 2:21-cv-08835-SDW-LDW Document 1 Filed 04/09/21 Page 5 of 12 PageID: 5
Case 2:21-cv-08835-SDW-LDW Document 1 Filed 04/09/21 Page 6 of 12 PageID: 6
Case 2:21-cv-08835-SDW-LDW Document 1 Filed 04/09/21 Page 7 of 12 PageID: 7
Case 2:21-cv-08835-SDW-LDW Document 1 Filed 04/09/21 Page 8 of 12 PageID: 8
Case 2:21-cv-08835-SDW-LDW Document 1 Filed 04/09/21 Page 9 of 12 PageID: 9
Case 2:21-cv-08835-SDW-LDW Document 1 Filed 04/09/21 Page 10 of 12 PageID: 10
Case 2:21-cv-08835-SDW-LDW Document 1 Filed 04/09/21 Page 11 of 12 PageID: 11
Case 2:21-cv-08835-SDW-LDW Document 1 Filed 04/09/21 Page 12 of 12 PageID: 12
